              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
              CRIMINAL CASE NO. 1:09-cr-00013-MR-9


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                     ORDER
                                )
YVONNE MARIE FOUNTAIN,          )
                                )
                   Defendant.   )
_______________________________ )


      THIS MATTER is before the Court on the Defendant’s letter, which the

Court construes as a motion for copies of court documents [Doc. 929].

      In her motion, the Defendant requests that the Court provide copies of

her presentence reports, the presentence report recommendations, and the

statement of reasons. All of these documents date from 2009, with the

exception of a supplemental presentence report, which dates from 2012. For

grounds, the Defendant states that such documents are “needed for me, for

some further litigation.” [Doc. 929 at 1].

      Court documents, such as the ones requested by the Defendant here,

may be obtained from the Court “only in the exercise of that court’s discretion

based upon a showing of need.” United States v. Williams, No. 88-7340,



   Case 1:09-cr-00013-MR-WCM      Document 931   Filed 11/07/18   Page 1 of 2
1989 WL 152422, at *1 (4th Cir. Dec. 11, 1989); United States v. Velasquez,

No. 5:10-CR-00042, 2012 WL 3307264, at 1 (W.D.N.C. Aug. 13, 2012)

(Voorhees, J.) (holding that a copy of presentence report may be obtained

from the district court only upon a showing of particularized need). Here,

there are no matters currently pending. The Defendant has exhausted her

direct and post-conviction appeals, and she does not identify any specific

“future litigation” she intends to bring. As such, the Defendant has failed to

demonstrate a particularized need for the requested pleadings. Accordingly,

in the exercise of its discretion, the Court will deny the Defendant’s motion.

      IT IS, THEREFORE, ORDERED that the Defendant’s letter, which the

Court construes as a motion for copies of court documents [Doc. 929], is

hereby DENIED.

      IT IS SO ORDERED.


                              Signed: November 7, 2018




                                         2



   Case 1:09-cr-00013-MR-WCM      Document 931           Filed 11/07/18   Page 2 of 2
